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  15                          UNITED STATES DISTRICT COURT

  16                        CENTRAL DISTRICT OF CALIFORNIA

  17                                  WESTERN DIVISION

  18
  19   UNITED STATES OF AMERICA,                    Civil Action No.

 20          Plaintiffs,                            COMPLAINT

 21    Tenet Healthcare Corp.; Tenet                for liability of "Tenet" and "AMFs
       HealthSystem Medical, Inc.; and the          hospitals" (as defined herein), for
 22    hospitals identified on Attachment A to      claims submitted to the Medicare
       This Complaint,                              Program from September 6, 1992 to
 23                                                 February 28, 1995,
             Defendants.
 24                                                 for Payment by Mistake of Fact and
                                                    Negligent Misrepresentation
 25
                                                    -AND-
 26                        FEB 1 1 2D04
                                                    DEMAND FOR JURY TRIAL
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   1          For its Second Amended Complaint (“Complaint”) regarding liability of

  2    "Tenet" and AMI's hospitals (as defined herein), the plaintiff, the United States of

  3    America (“United States” and “the government”) alleges as follows:
  4    I.   NATURE OF ACTION
  5           1.     The United States brings this action to recover all available damages,
  6    restitution, and other monetary relief under the common law, under the theories of

  7    payment by mistake of fact and negligent misrepresentation.

  8           2.     In this Complaint, the United States sues Tenet Healthcare Corp.;

  9    Tenet HealthSystem Medical, Inc. (formerly known as American Medical
 10    International, Inc.) (hereinafter collectively referred to as "Tenet");'and Tenet's
 11    hospitals formerly owned by American Medical International, Inc. ("AMI").

 12           3.     Attachment A, incorporated herein, lists each hospital that is sued in

 13    this Complaint.

 14          4.      Tenet is sued in this Complaint for its liability as to the conduct of

 15    AMI and the hospitals formerly owned by AMI identified on Attachment A.
 16    Hereinafter, the hospitals on Attachment A will be referred to as "AMI's
 17    hospitals."

 18          5.      This Complaint alleges the liability of each of AMI's hospitals for its

 19    conduct during the time it was owned, controlled, and directed by AMI, prior to

 20    the time Tenet Healthcare Corp. acquired AMI. For each such hospital, the

 21    beginning date of liability in this action is September 6, 1992, unless AMI or one
 22    of its direct or indirect subsidiaries acquired the hospital after that date, in which

 23    case the beginning date of liability is the date of that acquisition. Attachment A

 24    identifies the date of each such known acquisition. For each of AMI's hospitals,

 25    the last date of liability in this action is February 28, 1995.

 26          6.      AMI and AMI’s hospitals created false claims for Medicare

 27    payments, and submitted, or caused to be submitted, those claims to the United

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   1   States under the Medicare program during the period from September 6, 1992
   2   through March 1, 1995. Attachment A to this Complaint lists those false claims
   3   that the United States has discovered to date. (The specifics of this listing are
   4   described in more detail below in this Complaint).

   5         7.     AMI and AMFs hospitals created false claims for Medicare
   6   payments, and submitted, or caused to be submitted, those claims to the United

   7   States under the Medicare program during the period from September 6, 1992
   8   through February 28, 1995. Attachment A to this Complaint lists those false
   9   claims that the United States has discovered to date. (The specifics of this listing

  10   are described in more detail below in this Complaint).

  11         8.     The claims at issue in this action are false because AMFs hospitals

  12   “miscoded” these claims. “Miscoding” is the improper assignment of diagnosis

  13   and/or procedure codes that increase inappropriately the amount of

  14   reimbursement. That is, AMFs hospitals assigned diagnosis and/or procedure

  15   codes that (a) were not supported by the patients' medical conditions and the

  16   physicians' documentation of the patients' medical conditions in the medical

 17    records; or (b) improperly designated secondary diagnoses as principal diagnoses.

  18   AMFs hospitals made these assignments and designations in contravention of the
  19   Medicare program's coding rules in order to increase inappropriately the hospitals'

 20    reimbursement amounts.

 21          9.     For the claims at issue in this action, AMFs hospitals billed

 22    Medicare, or caused Medicare to be billed, through a coding assignment system

 23    known as "DRGs" (Diagnosis Related Groups). In the DRG coding system, a

 24    hospital assigns diagnosis codes -- and any applicable procedure codes - for each

 25    patient discharge. Those hospital-assigned diagnosis and procedure codes dictate

 26    the DRG that is assigned to that claim and thus determine the amount of

 27    reimbursement that the hospital receives from the Medicare program for that

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  1   claim.
  2            10.   AMI’S hospitals' miscoding focused upon diagnosis and procedure
  3   codes that grouped to four DRGs: pneumonia codes that grouped to DRG 079,
  4   septicemia codes that grouped to DRG 416, septicemia and procedure codes that
  5   grouped to DRG 415, and respiratory system codes with ventilator support that
  6   grouped to DRG 475. AMI's hospitals upcoded diagnoses that would have
  7   resulted in other, lower-paying DRGs, to diagnoses and/or procedures that resulted
  8   in these four enumerated, higher-paying DRGs. AMI's hospitals did so in order to
  9   maximize their reimbursements from the Medicare program.
 10            11.   Asa result of AMI's encouragement (including but not limited to
 11   AMI’s undue emphasis on “optimizing” DRGs and hospital revenue with little or
 12   no emphasis on compliance with coding regulations, and AMI's corporate-level
 13   review process that primarily reviewed records with optimizable DRGs), coders at
 14   AMI's hospitals were encouraged to, and did in fact, substitute their judgment for
 15   that of the patients’ physicians, entered false diagnosis and/or procedure codes on
 16   claim forms, and improperly sequenced principal and secondary diagnoses, all
 17   resulting in AMI's hospitals' receiving Medicare reimbursements greater than
 18   those to which the hospitals were entitled.
 19            12.   The United States seeks a judgment against Tenet Healthcare Corp.;
 20   Tenet HealthSystem Medical, Inc.; and AMI's hospitals, jointly and severally, for
 21   treble damages, plus civil penalties, and such other further relief as may be just
 22   and proper.
 23   II.   JURISDICTION
 24            13.   This Court possesses subject matter jurisdiction over this action
 25   pursuant to 28 U.S.C. § 1345. The Court may exercise personal jurisdiction over
 26   the defendants because the defendants transact business in this District.
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   1   III.   VENUE
   2          14.   Venue is proper in this District under 28 U.S.C. § 139 1(b) because
   3   the defendants transact business in this District.
   4   IV.    PARTIES
   5          Plaintiff
   6          15.   The United States brings this action on behalf of its agency, the
   7   Department of Health and Human Services (“HHS”) and its component, the
   8   Centers for Medicare & Medicaid Services (“CMS,” formerly the Health Care
   9   Financing Administration (“HCFA”)).
  10          Defendant Tenet Healthcare Corp.
  11          16.   Defendant Tenet Healthcare Corp., at all times relevant to this action,
  12   was a for-profit hospital chain in the United States. Directly and through its
  13   subsidiaries. Tenet Healthcare Corp. at certain times relevant to this action
  14   operated over 132 hospitals and ancillary health care facilities in at least 22 states.
  15          17.   Tenet Healthcare Corp. is incorporated in Nevada with headquarters
  16   in Santa Barbara, California.
  17          18.   Tenet Healthcare Corp. was formerly named "National Medical
  18   Enterprises, Inc." or "NME."
  19          19.   On October 7, 1994, NME created a wholly-owned subsidiary, AMH
 20    Acquisition Co., whose sole purpose was to affect a merger with American
 21    Medical Holdings, Inc. ("AMH").
 22           20.   On October 10, 1994, NME, AMH Acquisition Co., and AMH
 23    entered into an Agreement and Plan of Merger (hereinafter "the Merger
 24    Agreement"). The Merger Agreement provided that the certificate of
  25   incorporation of AMH Acquisition Co. would become the certificate of
 26    incorporation of the surviving corporation and that the directors of AMH
  27   Acquisition Co. would become the directors of the surviving corporation. Jeffrey
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   1   Barbakow signed the Merger Agreement on behalf of both NME and AMH
  2    Acquisition Co. as Chairman and CEO of both corporations.
  3          21.    On or about March 1, 1995, AMH Acquisition Co. was merged into
  4    AMH, leaving AMH as a wholly-owned subsidiary of NME. AMH was the owner

  5    of all outstanding shares of common stock of AMI, a Delaware corporation,
  6    headquartered in Dallas, Texas.

  7          22.    On June 23, 1995, NME changed its name to Tenet Healthcare Corp.

  8    All references to Tenet Healthcare Corp. and Tenet herein refer also to NME for

  9    the period September 6, 1992 through June 23, 1995.
 10          23.       Through the foregoing merger. Tenet Healthcare Corp. acquired

 11    both AMI and AMI's hospitals; and Tenet HealthSystem Medical, Inc. acquired

 12    the liabilities of AMI.

 13          24.    On November 30, 1995, Tenet Healthcare Corp.'s registered agent

 14    filed amendments to the certificates of incorporation changing the names of AMH

 15    to Tenet HealthSystem Holdings, Inc. and changing AMI to Tenet HealthSystem

 16    Medical, Inc.

 17          25.    Tenet HealthSystem Holdings, Inc. and Tenet HealthSystem Medical,

 18    Inc. are incorporated in Delaware, with headquarters in Dallas, Texas and Santa
 19    Barbara, California.
 20          26.    Tenet Healthcare Corp. indirectly owns or owned the former AMI

 21    hospitals through its intermediate subsidiaries. Tenet HealthSystem Holdings, Inc.

 22    and Tenet HealthSystem Medical, Inc.

 23          27.    Additionally, Tenet Healthcare Corp., Tenet HealthSystem Holdings,

 24    Inc., and Tenet HealthSystem Medical, Inc. have numerous officers that are

 25    officers of all of the corporations; and Tenet Healthcare raises capital for Tenet

 26    HealthSystem Holdings, Inc. and Tenet HealthSystem Medical, Inc.

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   1           The Hospitals sued herein as Defendants
   2           28.   Attached hereto as Attachment A, and incorporated herein, is a chart
   3   listing all hospitals that are sued in this action, with the hospital name, location.

   4   Medicare Provider Number, and the date AMI directly or indirectly acquired
   5   and/or sold the hospital, where known and occurring within the period September
   6   6, 1992 to March 1, 1995. Listed below each hospital in Attachment A are the

   7   entities that form the present chain of ownership from Tenet Healthcare Corp.

   8   down to the hospital. If there are or were other entities within the chain of

   9   ownership for any of the hospitals listed in Attachment A, this information is

  10   within the exclusive control of defendants and is not known to the United States.

  11           29.   Also included within Attachment A and incorporated by reference

  12   herein is a listing, by hospital, of the false claims of each of AMI's hospitals that

  13   the United States has discovered to date and for which it sues in this action.

  14           30.   The official of the United States charged with responsibility to act in

  15   this circumstance did not know and reasonably could not have known the facts

  16   material to this right of action before May, 2002.

  17           31.   Tenet Healthcare Corp., on behalf of itself and its subsidiaries

  18   (including AMI and AMI’s hospitals), and the United States agreed to a tolling of

  19   the statute of limitations for the claims at issue in this action as of September 6,

  20   2002.

  21   V.      THE PROSPECTIVE PAYMENT SYSTEM UNDER MEDICARE
  22           A.    REIMBURSEMENT UNDER THE MEDICARE
  23                 PROGRAM FOR HOSPITAL INPATIENT STAYS
  24           32.   In 1965, Congress enacted Title XVIII of the Social Security Act

  25   (“Medicare” or the “Medicare Program”) to pay for the costs of certain health

  26   services and health care. Entitlement to Medicare is based on age, disability or

  27   affliction with end-stage renal disease. S^ 42 C.F.R. §§ 426, 426-1.

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   1            33.   HHS is responsible for the administration and supervision of the

   2   Medicare program. CMS is a component of HHS and is directly responsible for the
   3   administration of the Medicare program.
   4            34.   Part A of the Medicare program authorizes payment for institutional

   5   care, including hospital, skilled nursing facility and home health care. S^ 42

   6   U.S.C. §§ 1395c-1395i-5.

   7            35.   Most hospitals, including all of AMI’s hospitals, derive a substantial

   8   portion of their revenue from the Medicare program.

   9            36.   All of the Medicare claims at issue in this action were submitted to

  10   the United States pursuant to the provisions of Part A of the Medicare program.

  11            37.   Medicare beneficiaries are entitled to have payments made on their

  12   behalf for certain inpatient and outpatient hospital care and related services

  13   provided by a hospital (or “provider”). 42 U.S.C. § 1395d(a); 42 C.F.R. § 400.202.

  14            38.   The Secretary of HHS reimburses the providers for Part A services,

  15   including all of AMTs hospitals, through Medicare contractors referred to as fiscal

  16   intermediaries (“FIs.”) FIs are generally private insurance companies that are

  17   responsible for determining the amount of the payments to be made to providers.

  18   42 U.S.C. §§ 1395h(a), 1395u(a).

  19            39.   In 1983, Congress established the Prospective Payment System

 20    (“PPS”) as the system by which hospitals are reimbursed for inpatient hospital

 21    costs.
 22             40.   For all times material to this action, PPS was the system used to

 23    reimburse most hospitals, including all of the hospitals identified on Attachment

 24    A, for inpatient care.

 25             41.   For all times material to this action, the PPS rates were based on

 26    Diagnosis Related Groups (“DRGs”), which were established by CMS as the basis

 27    of Medicare’s hospital reimbursement system for the operating costs of inpatient

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   1   care.
   2           42.   DRGs were a patient diagnosis classifieation system that provided a
   3   means of relating the types of patients a hospital treats (referred to as its
   4   “casemix”) to the operating costs incurred by the hospital. Each DRG was defined
   5   by a particular set of patient attributes that included the patient’s principal
   6   diagnosis, specific secondary diagnoses, procedures performed, age, sex, and
   7   discharge status. 42 C.F.R. § 412.60.
   8           43.   For all times material to this action, the diagnosis and proeedure
   9   codes that “grouped to” the DRGs were referred to as ICD-9-CM (“Internal
  10   Classification of Diseases, 9th Revision, Clinical Modification”) codes.
  11           44.   For all times material to this Action, hospitals' claims were submitted
  12   to the FIs on a form HCFA 1450 (UB-92) (hereinafter "UB-92"). For each patient
  13   discharge, the hospital assigned and listed the ICD-9-CM codes on the UB-92, as
  14   well as other patient information.
  15           45.   For all times material to this Action, upon the basis of these ICD-9-
  16   CM eodes and information, the FIs classified (or "grouped") the patient discharge
  17   to a DRG. 42 C.F.R. §412.60.
  18           46.   For all times material to this Action, only one DRG was assigned to
  19   each patient discharge. 42 C.F.R. § 412.60(c)(2).
 20            47.   For all times material to this Action, the DRGs formed the basis of
 21    reimbursement. CMS assigned to each DRG an appropriate weighting factor
 22    (referred to as a "relative weight") that reflected the estimated relative cost of
 23    hospital resources used with respect to patient discharges classified within that
 24    group compared to patient discharges classified within other groups. 42 C.F.R. §
 25    412.60(b).
 26            48.   For all times material to this Action, a particular hospital's
  27   reimbursement rate for a patient (known as "the blended rate") was determined by
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   1   the DRG's relative weight multiplied by the hospital's base rate. The hospital's

   2   base rate was determined by a combination of factors, such as wage rates in the

   3   region and certain specified geographic factors. 42 C.F.R. § 412.63.

   4         49.    For all times material to this action, all providers, including all of

   5   AMFs hospitals, who participated in the Medicare program did so by entering into

   6   a Provider Agreement with the Secretary for HHS. 42 U.S.C. § 1395cc.

   7         50.    For all times material to this action, the Provider Agreement required

   8   each hospital to maintain a medical record for each individual evaluated or treated

   9   by the hospital and required that the medical record contain information

  10   supporting the ICD-9-CM codes assigned by the hospital. Health Insurance

  11   Benefit Agreement, Form CMS- 1561; Requirements for Hospital Participation, 3

  12   Medicare and Medicaid Guide (CCH) ^ 12,340 at 4892; 42 C.F.R. § 482.24(c); 42

  13   U.S.C. §§ 1395f(a), 1395n(a), 1395cc(a)(l).

  14         B.     CODING RULES

  15         51.    For all times material to this action, in order to receive

  16   reimbursement, a hospital had to comply with conditions for payment contained in

  17   the Medicare regulations. 42 C.F.R. § 4 12.40(a).

  18         52.    For all times material to this action, if a hospital failed to comply with

  19   the conditions for payment, CMS could have, as appropriate, withheld Medicare

  20   payment (in whole or in part) until the hospital provided adequate assurances of

  21   compliance or terminated the hospital’s provider agreement. 42 C.F.R. §

  22   412(b)(1), (2).

  23         53.    For all times material to this action, hospitals, including all of AMFs

  24   hospitals, were required to assign ICD-9-CM codes based on the diagnostic

  25   statements of a patient’s treating physician in that patient’s medical record. 42

  26   C.F.R. § 482.24 (c); Coding Clinic. 2d Q 1990, at 14.

  27         54.    For all times material to this action, the Medicare regulations

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   1   explicitly stated that payment under the prospective payment system was based, in

   2   part, on each patient’s principal and secondary diagnoses and major procedures
   3   performed, as evidenced by the physician’s entries in the patient’s medical record.
   4   42 C.F.R. § 412.46(a).

   5         55.    Thus, for all times material to this action, the Medicare regulations

   6   required that for each physician, the hospital have on file the following physician

   7   acknowledgment statement:
   8         Notice to Physicians: Medicare payment to hospitals is based in part
   9         on each patient’s principal and secondary diagnoses and the major

  10         procedures performed on the patient, as attested to by the patient’s

  11         attending physician by virtue of his or her signature in the medical

  12         record. Anyone who misrepresents, falsifies, or conceals essential

  13         information required for payment of Federal funds, may be subject to

  14         fine, imprisonment, or civil penalty under applicable Federal laws.

  15   42 C.F.R. §4 12.46(b).

  16         56.    For the time period of September 1, 1992 through August 31, 1995, in

  17   addition to requiring hospitals to maintain the above notice to physicians on file,

  18   the regulations also required physician attestations for each medical record.

  19   Specifically, the regulations stated:

  20         Physician attestation. The attending physician must, shortly before,

  21         at, or shortly after discharge (but before a claim is submitted), attest

  22         to the principal diagnosis, secondary diagnoses, and names of major

  23         procedures performed. The information must be in writing in the

  24         medical record, and. . the physician must sign the statement. Below

  25         the diagnostic and procedural information, and on the same page, the

  26         following statement must immediately precede the physician’s

  27         signature:

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   1                  “I certify that the narrative descriptions of the principal

   2                  and secondary diagnoses and the major procedures

   3                  performed are accurate and complete to the best of my

   4                  knowledge."

   5   42 C.F.R. § 412.46(a).
   6            57.   This physician attestation statement was usually provided to a

   7   physician by a hospital on a form generated by the hospital that included narrative

   8   descriptions of the physician’s diagnoses, as well as the corresponding ICD-9-CM

   9   codes.

  10            58.   For all times material to this action, hospitals that participated in the

  11   Medicare program were also required to adhere to the Hospital Manual (“Manual”

  12   or “Hospital Manual”), a CMS publication. The Hospital Manual provided

  13   instructions to hospitals for implementation of the provisions of Title XVIII of the

  14   Social Security Act and Medicare regulations as they relate to hospital benefits.

  15   The Manual amplified the basic statutory provisions for coverage of services and

  16   the requirements that had to be met for Medicare payment to be made. The

  17   Manual, inter alia, regulated the manner in which hospitals billed the Medicare

  18   program for inpatient services.

  19            59.   For all times material to this Action, the Hospital Manual required

  20   hospitals in the PPS system to enter on the claim forms — the UB-92s - the

  21   appropriate ICD-9-CM codes {i.e., the principal diagnosis, secondary diagnoses,

  22   and procedure codes) in order to be reimbursed for their patient discharges. The

  23   Hospital Manual specified that, on inpatient claims, CMS accepted only those

  24   ICD-9-CM diagnosis and procedural codes that used definitions included within

  25   the Uniform Hospital Discharge Data Set (“UHDDS”). Hospital Manual, § 460,

  26   FL 67.

  27            60.   For all times material to this action, the Hospital Manual and the

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   1   UHDDS defined a principal diagnosis as “the condition established after study to
   2   be chiefly responsible for th[e] admission.” Hospital Manual, § 460, FL 67; 50
   3   Fed. Reg. 31038 (July 31, 1985). The Hospital Manual stated that “entering any
   4   other diagnosis may result in incorrect assignment of a DRG and cause [the
   5   hospital] to be incorrectly paid under PPS.” Id.
   6         61.    For all times material to this action, secondary diagnoses that affected
   7   the DRG to which a patient discharge was assigned were referred to as
   8   complications and comorbidities. Complications were diagnoses that arose after
   9   the patient was hospitalized and comorbidities were diagnoses that existed at the
  10   time the patient was admitted to the hospital.
  11         62.    For all times material to this action, in order to select the appropriate
  12   ICD-9-CM codes for a patient’s principal and secondary diagnoses, and
  13   procedures, the Hospital Manual referred hospitals to Volumes One through Three
  14   of the International Classification of Diseases, 9th Revision, Clinical Modification
  15   (“ICD9-CM Code Books”). Hospital Manual, § 417.1.
  16         63.    For all times material to this action, the ICD-9-CM Code Books
  17   contained all the ICD-9-CM codes approved by CMS and were the primary
  18   reference source used in the assignment of ICD-9-CM codes. The ICD-9-CM
  19   Code Books were maintained and revised each year by CMS and the National
  20   Center for Health Statistics. The ICD-9-CM Code Books detailed the coding
  21   conventions and the code selection process.
  22         64.    Additionally, for all times material to this action, CMS published
  23   annually a DRG Manual that described each DRG, and for each DRG, identified
  24   the ICD-9-CM codes that grouped to that DRG.
  25         65.    For all times material to this action, the Hospital Manual also
  26   described the “Grouper” computer programs that FIs used to select DRGs once the
  27   hospital had assigned the ICD-9-CM codes. Hospital Manual, § 417.
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   1         66.    For all times material to this action, Grouper was the software that FIs

   2   used to determine the DRG of each patient discharge based on the data elements
   3   that hospitals reported on each claims form. Although the Grouper software had

   4   edits built into it that rejected incomplete or impossible codes, claims submitted

   5   with valid diagnosis codes that were incorrect because they did not represent the

   6   actual diagnoses of the patient could not be detected by the Grouper software.

   7         67.    For all times material to this action, the Hospital Manual instructed

   8   that “[t]he responsibility for accuracy rest[ed] with [the hospital].” Hospital

   9   Manual, §417.

  10         68.    For all times material to this Action, based on the information in the

  11   foregoing publications, and by using the Grouper software, the hospital could

  12   control what DRG would be assigned to a claim by assigning particular ICD-9-

  13   CM codes to a patient discharge.

  14         69.    For all times material to this Action, a hospital could predict its

  15   expected estimated reimbursement for any inpatient claim by multiplying the

  16   relative weight of the DRG assigned to the claim times that hospital's base rate.

  17   (See discussion supra.)

  18         70.    For all times material to this Action, in addition to the Medicare

  19   program statutes, regulations, manuals, and ICD-9-CM Code Books, CMS

  20   provided detailed coding guidance through a publication called "Coding Clinic."

  21         71.    For all times material to this Action, Coding Clinic was published

  22   quarterly by the American Hospital Association ("AHA"), of which Tenet and its

  23   hospitals were members. The advice provided by Coding Clinic was from its

  24   Editorial Advisory Board, which was made up of representatives from what was

  25   referred to as "the cooperating organizations" -- AHA, AHIMA (American Health

  26   Information Management Association), CMS, and NCHS (National Center for

  27   Health Statistics).

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   1         72.    For all times material to this Action, CMS officially endorsed Coding
   2   Clinic, and Coding Clinic was the only publication providing coding advice that
   3   was endorsed by CMS. 54 Fed. Reg. 30561 (July 21, 1989).
   4         73.    For all times material to this Action, Coding Clinic provided specific
   5   guidelines for diagnosis and procedure coding.
   6         74.    In 1990, Coding Clinic published the Official Guidelines for Coding
   7   and Reporting (hereinafter "Official Coding Guidelines").

   8         75.    For all times material to this Action, Coding Clinic repeatedly

   9   emphasized that coders must base their assignments of codes upon the physicians’
  10   documentation of the diagnoses in the medical records. See, e.g.. Coding Clinic,

  11   May - June 1984, at 12.
  12         76.    The Official Coding Guidelines also required that coders base their

  13   assignments of codes upon the physicians' documentation of the diagnoses in the

  14   medical records. Official Coding Guidelines, Coding Clinic, 2d Q 1990, § 3.2.

  15         77.    Coding Clinic and the Official Coding Guidelines also emphasized

  16   that the principal diagnosis was the diagnosis, after study, ehiefly responsible for

  17   the patient's admission to the hospital. Official Coding Guidelines, Coding Clinic,

  18   2d Q 1990, §2.

  19         78.    For all times material to this Action, Coding Clinic repeatedly

  20   instructed coders that code assignments should not be based upon the results of

  21   diagnostic tests, gram stains, or upon the basis of medications administered to

  22   patients, because such coding practices lead to errors in coding.

  23         79.    The Official Coding Guidelines also instrueted coders that code

  24   assignments should not be based upon the results of diagnostic tests. Official

  25   Coding Guidelines, Coding Clinic, 2d Q 1990, § 3.5.

  26         80.    For all times material to this Action, Coding Clinic also instructed

  27   coders not to code conditions that no longer existed at the time of the

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   1   hospitalization and not to assign separate codes for conditions that were integral to

   2   the disease process that constituted the principal diagnosis.

   3         81.    For all times material to this Action, Coding Clinic instructed coders

   4   to query physicians before assigning diagnosis codes in instances where it
   5   appeared to coders that particular diagnosis codes were appropriate but where the
   6   physicians had not documented such diagnoses.

   7         82.    For all times material to this Action, Coding Clinic also instructed

   8   coders to follow the UHDDS definitions when assigning ICD-9-CM codes.

   9         83.    In short, for all times material to this Action, in order for hospitals to
  10   be reimbursed for patient care by the Medicare system. Medicare required that the

  11   physician make the diagnoses, that the physician document in the medical record

  12   the diagnoses, that the hospital coding and billing personnel submit only those

  13   codes that correlated with the diagnoses made by the physician in the medical

  14   record , and that those personnel adhere to coding guidelines when assigning

  15   principal and secondary diagnoses.
  16         C.    THE ICD-9-CM CODES AND DRGs AT ISSUE IN THIS

  17                ACTION

  18                1.    DRG 079: PNEUMONIA DIAGNOSES ICD-9-CM

  19                      CODING RULES
  20         84.    The pneumonia diagnosis codes at issue in this action are ICD-9-CM

  21   482.8, 482.83 and 482.89.

  22         85.    Prior to October 1, 1992, ICD-9-CM code 482.8 covered pneumonia

  23   caused by “other specified bacteria” i.e., by one or more bacteria that the physician

  24   had specifically identified but that was not described by any of the other

  25   pneumonia diagnosis codes in the ICD-9-CM Code Books.

  26         86.    Beginning on October 1, 1992, CMS added a fifth digit modifier to

  27   ICD-9-CM code 482.8 so that certain bacteria causative of pneumonia could be

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   1   specifically identified on claim forms.

   2         87.    Included among those codes that CMS added were: 482.83
   3   (pneumonia due to other gram-negative bacteria); and 482.89 (pneumonia due to

   4   other specified bacteria, not elsewhere classified).

   5         88.    For all times material to this action, ICD-9-CM code 482.9 covered

   6   “bacterial pneumonia unspecified.” This code was used for those instances where

   7   the physician had diagnosed bacterial pneumonia, but had not identified the

   8   causative bacterium.

   9         89.    For all times material to this action, ICD-9-CM code 486 covered

  10   pneumonia, organism unspecified.” This code was used for those instances where

  11   the physician had diagnosed pneumonia, but had not identified the cause of the

  12   pneumonia, whether bacterial, viral, or other.

  13         90.    For all times material to this action. Medicare patients who were

  14   eighteen years of age or older with a principal diagnosis ICD-9-CM code of 482.8,

  15   482.83, or 482.89 and a complication or comorbidity, with no additional procedure

  16   codes, were assigned or grouped to DRG 079.

  17         91.    For all times material to this action. Medicare patients who were

  18   eighteen years of age or older with a principal diagnosis ICD-9-CM code of 482.9

  19   or 486 and a complication or comorbidity, but no procedure code, were assigned

  20   or grouped to DRG 089.

  21         92.    For all times material to this action. Medicare patients who were

  22   eighteen years of age or older with a principal diagnosis ICD-9-CM code of 482.9

  23   or 486 and no complication or comorbidity and no procedure code were assigned

  24   or grouped to DRG 090.

  25         93.    For all times material to this action, of these three DRGs, DRG 079

  26   had the highest relative weight and claims that grouped to this DRG were

  27   reimbursed at a higher rate than claims grouping to DRG 089 or 090.

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   1         94.    For all times material to this action, the exact reimbursement
   2   difference between DRG 079 and 089 varied somewhat depending upon the year
   3   at issue and a particular hospital’s base rate, but on average, the reimbursement

   4   difference between DRG 089 and DRG 079 exceeded $4000 per claim.

   5         95.    For all times material to this action, AMFs hospitals miscoded claims
   6   that were then submitted to the FIs and, due to the miscoding, were mistakenly

   7   grouped to DRG 079. The claims discovered by the United States to date that
   8   AMFs hospitals miscoded and for which AMFs hospitals consequently received

   9   payment at the DRG 079 rate are listed in Attachment A.

  10                2.     DRGS 415 AND 416: SEPTICEMIA DIAGNOSES

  11                       ICD-9-CM CODING RULES
  12         96.    The septicemia codes at issue in this action are ICD-9-CM codes that

  13   begin with “038” and end with a variety of fourth and fifth digit modifiers, such as

  14   038.0, 038.1, 038.11, 038.2, 038.42, 038.43, 038.44, 038.49, 038.8, and 038.9,

  15   depending upon what the defendants claimed to be the etiology of the septicemia,

  16   as well as ICD-9-CM 785.59 (septic shock).

  17         97.    For all times material to this action, a Medicare patient who was

  18   eighteen years of age or older with one of the principal diagnosis JCD-9-CM

  19   codes specified in the preceding paragraph, grouped to DRG 416 (Septicemia), if

  20   no operating room procedure code were assigned, or to DRG 415 (Operating

  21   Room Procedure for Infectious and Parasitic Diseases), if there was also an

  22   operating room procedure performed.

  23         98.    Additionally, for all times material to this action, if a Medicare

  24   patient had a principal diagnosis ICD-9 CM code of 790.7 (bacteremia), 958.3

  25   (post-trauma wound infection), 998.5 (certain postoperative infections), 998.6

  26   (persistent postoperative fistula), as well as certain other infectious and parasitic

  27   diseases, and an operating room procedure was performed, that claim would also

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   1   group to DRG 415.
   2         99.     For all times material to this action, DRGs 416 and 415 had high
   3   relative weights, and claims that grouped to these DRGs, rather than to other lower
   4   weighted DRGs were reimbursed at a higher rate than those other lower weighted
   5   DRGs.
   6           100. For all times material to this action, AMFs hospitals miscoded claims
   7   that were then submitted to the FIs and, due to the miscoding, were mistakenly
   8   grouped to DRG 415 or 416. The claims discovered by the United States to date
   9   that AMFs hospitals miscoded and for which AMFs hospitals consequently
  10   received payment at the DRG 415 and 416 rates are listed in Attachment A.
  11                 3.    DRG 475: RESPIRATORY SYSTEM DIAGNOSES
  12                       WITH VENTILATOR SUPPORT ICD-9-CM CODING
  13                       RULES
  14           101. For all times material to this action, a Medicare patient with a
  15   principal diagnosis code for a respiratory disease who was also plaeed upon a
  16   mechanical ventilator grouped to DRG 475.
  17           102. For all times material to this action, DRG 475 had a high relative
  18   weight, and claims that grouped to DRG 475 rather than to other lower weighted
  19   DRGs were reimbursed at a higher rate than those other lower weighted DRGs.
  20           103. For all times material to this action, AMFs hospitals miscoded claims
  21   that were then submitted to the FIs, and, due to the miscoding, were mistakenly
  22   grouped to DRG 475. The claims discovered by the United States to date that
  23   AMFs hospitals miscoded and for which AMFs hospitals consequently received
  24   overpayments at the DRG 475 rate are listed in Attachment A.
  25   ///

  26   ///

  27   ///

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   1   VI.   THE CONDUCT OF AMI AND ITS HOSPITALS

   2         A.    AMES CORPORATE OVERSIGHT OF HOSPITALS

   3         104. For all times material to this action, AMI managed and oversaw its

   4   hospitals located nationwide through an organizational structure that was divided

   5   into two divisions (an Eastern Division and a Western Division).

   6         105. For all times material to this action, AMFs hospitals reported to the

   7   divisions, and the divisions reported to AMI headquarters.

   8         B.    THE CODING PROCESS AT AMI
   9         106. For all times material to this complaint, AMFs hospitals typically had

  10   departments referred to as a Health Information Management (“HIM”) Department

  11   or a Medical Records Department (hereinafter referred to collectively as “HIM

  12   Department”).

  13         107. The HIM Departments had one or more employees whose duties

  14   included coding inpatient medical records and who were referred to as “coders.”

  15         108. Generally, each of AMFs hospital’s HIM Department was headed by

  16   a Director who in turn reported to the hospital’s Chief Financial Officer (“CFO”).

  17         109. For all times material to this action, AMI instructed its hospitals that

  18   any case that required assignment of a complication or comorbidity to optimize

  19   payment should be referred to another coder or HIM director for re-review.

  20         110. For all times material to this action, after these reviews, the HIM

  21   Department submitted the coding information to the hospital’s billing department

  22   and that department submitted the UB-92 to the FI for reimbursement.

  23         111. For all times material to this action, AMI corporate level Clinical

  24   Finance Managers conducted coding reviews of those medical records that AMI

  25   determined were “optimizable” — i.e., those with the potential for increased

  26   reimbursement from Medicare.

  27         112. Meanwhile, for all times material to this action, AMI rarely

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   1   conducted coding reviews with the purpose of ensuring that the hospitals adhered
   2   to Medicare statutes, regulations, rules, and guidelines.
   3         113. For all times material to this action, AMFs corporate level Clinical
   4   Finance Managers included Brenda Ward and Karen Rutledge.

   5         C.     LISTING OF THE SPECIFIC MISCODED CLAIMS AND
   6                FALSE STATEMENTS OF AMES HOSPITALS DISCOVERED
   7                BY THE GOVERNMENT TO DATE
   8         114. Beginning at least as early as September 6, 1992 and continuing until
   9   February 28, 1995, AMFs hospitals submitted or caused to be submitted more
  10   than 2,400 false claims to Medicare for claims coded with diagnosis and procedure

  11   codes that grouped to DRGs 079, 415, 416, and 475. As noted, each such false
  12   claim was submitted on a UB-92 form that contained the ICD-9-CM codes
  13   purporting to represent the appropriate principal and secondary diagnoses and

  14   procedures performed. Each such UB-92 contained at least one material false

  15   statement: that the ICD-9-CM codes set forth on the UB-92 in fact represented the

  16   correct principal and secondary diagnoses and procedures performed.

  17         115. For all times material to this complaint, the miscoded claims at AMFs

  18   hospitals were due in large part to AMFs undue emphasis on “optimizing” DRGs

  19   and hospital revenue with little or no emphasis on compliance with coding

  20   regulations, and AMFs corporate-level review process that primarily reviewed

  21   records with optimizable DRGs.
  22         116. The Medicare program paid all of those claims, and the United States

  23   incurred actual damages due to such payments. As discussed above, each such

  24   false claim also contained a false statement made to the government.

  25         117. Attachment A hereto lists the following UB-92 false claims submitted

  26   or caused to be submitted by AMI and its hospitals. These two groups of claims

  27   are separately identified by footnotes in Attachment A:

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   1                i.           Claims determined to be false in an investigation by the

   2                             United States (hereinafter, "the Group 1 claims"). These

   3                             claims form the majority of the claims listed on

   4                             Attachment A. The investigation was conducted by the

   5                             HHS's Office of Inspector General, the Commercial
   6                             Litigation Branch of the Department of Justice in

   7                             Washington, D.C., and the Office of the United States

   8                             Attorney for the Central District of California.

   9                ii.          Claims determined to be false in another investigation by
  10                             HHS and the Office of the United States Attorney for the
  11                             Southern District of Indiana ("the Group 2 claims").

  12         118. Contemporaneously with the filing of this Complaint, the United

  13   States has delivered to counsel for defendants a table identifying each patient

  14   medical chart that is associated with each claim listed in Attachment A hereto.

  15   On the table, each patient is identified by name, medical record number and/or

  16   patient claim number, date of discharge, hospital from which the patient was
  17   discharged, the ICD-9-CM codes assigned by the hospital, the DRG that resulted

  18   from the miscoding and for which the Medicare program paid, and the correct

  19   ICD-9-CM code and DRG to which the patient should have been assigned. In

  20   order to preserve the confidentiality of the patients' medical information, the

  21   patient identifier information does not appear in Attachment A to this Complaint.

  22         119. To identify the Group 1 claims, the United States selected statistically

  23   valid random samples of Tenet Healthcare Corp.'s hospitals’ Medicare DRG 079,

  24   415, 416, and 475 claims during a specified period (see below).

  25         120. In order to select the samples, the United States first obtained claims

  26   data from a CMS claims database (i.e., a federal government database). For these

  27   samples, the United States identified the relevant universe as the claims of all of

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   1   the hospitals that are presently listed on Attachment A, plus some additional

   2   hospitals owned by Tenet, for 1991 through 1997 for DRG 079 and for 1991

   3   through 1998 for DRGs 415, 416, and 475. The United States then selected

   4   random samples of these claims.
   5         121. The United States performed the selections using a proven random

   6   sampling methodology. This sampling methodology was a program called RAT-

   7   STATS. RAT-STATS is widely used by HHS’s Office of Inspector General,

   8   Office of Audit Services and by CMS to sample claims data and has been

   9   validated as a sampling program by numerous recognized statistical tests for

  10   randomness.
  11         122. Once the United States selected the statistical sample using the RAT-

  12   STATS program, the United States subpoenaed from Tenet Healthcare Corp. the

  13   medical records for each of the claims in the samples.

  14         123. The United States also retained expert coding consultants to conduct

  15   coding reviews of the medical records produced by Tenet Healthcare Corp. in

  16   response to the subpoenas.

  17         124. The coding reviewers reviewed the records that Tenet Healthcare

  18   Corp. produced to determine which claims had been miscoded and which claims

  19   had not been miscoded. For each sample item that the coding reviewers

  20   determined was miscoded, the coding reviewers also determined the correct DRG

  21   to which the claim should have been coded. The coding reviewers then provided

  22   the United States with their tabulated results.

  23         125. Based upon the coding reviewers' results, the United States identified

  24   the Group 1 false claims set forth in Attachment A hereto. Further changes were

  25   made to the results to eliminate years and hospitals that were included within the

  26   above-described statistical samples but not included within this Action.

  27         126. To identify the Group 2 claims, the United States similarly selected

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   1   statistically valid random samples of AMI Culver Union Hospital's Medieare DRG
   2   claims during a specified period.
   3          127. Once the United States seleeted the statistical sample, the United
   4   States subpoenaed from AMI Culver Union Hospital the medieal records for each

   5   of the claims in the samples.
   6          128. The United States also retained expert coding consultants to conduct

   7   coding reviews of the medical records produced by AMI Culver Union Hospital in

   8   response to the subpoenas.

   9          129. The coding reviewers reviewed the records that were produced to
  10   determine which claims had been miscoded and which claims had not been

  11   miscoded. For each sample item that the coding reviewers determined was

  12   miscoded, the coding reviewers also determined the correct DRG to which the

  13   claim should have been coded. The coding reviewers then provided the United

  14   States with their tabulated results.

  15          130. Based upon the coding reviewers' results, the United States identified

  16   the Group 2 false claims set forth in Attachment A hereto. Further changes were

  17   made to the results to eliminate years that were included within the above-
  18   described statistical sample but not included within this Action.

  19          131. The United States sues herein for all false claims due to AMI and its

  20   hospitals' miscoding that ensured grouping to DRGs 079, 416, 415, and 475

  21   during the period of liability alleged in this Complaint, including but not limited to

  22   the specific false claims listed on Attachment A. Upon information and belief,

  23   there are such false claims in addition to those listed on Attachment A. The basis

  24   of this belief is that the majority of the claims listed on Attachment A were located

  25   through the random statistical sampling process described above, whose results are

  26   properly extrapolated to a larger universe. In addition, the fact that false claims

  27   were found through one random sampling indicates that additional claims may be

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   1   found through an additional random sampling.

   2          132. The United States reserves the right, at trial of this action or in any

   3   other proceeding herein, to present other evidence of false claims, including but

   4   not limited to other statistical samples that have been analyzed to identify false

   5   claims.
   6          133. In addition to the UB-92 false claims, during the period from

   7   September 6, 1992 through February 28, 1995, AMI's hospitals submitted, and

   8   caused to be submitted, cost reports to the FIs, based on improperly claimed

   9   DRGs. Each such cost report contained a false certification by the officer or

  10   administrator of the provider that the cost report was "a true, correct, and complete

  11   statement prepared from the books and records of the provider" and that "the

  12   services identified in this cost report were provided in compliance with" "the laws

  13   and regulations regarding the provision of health care services."

  14
  15                                          COUNTS

  16
  17                              FIRST CAUSE OF ACTION

  18                             AGAINST ALL DEFENDANTS

  19                                   (Payment By Mistake)

  20
  21          134. Plaintiff United States repeats and realleges each allegation in      1

  22   through 133, as if fully set forth herein.

  23          135. Asa result of the conduct described in this count, the United States

  24   paid AMI's hospitals certain government funds to which defendants were not

  25   entitled.

  26          136. At the time the United States made such payments, the United States

  27   was unaware of the conduct described in this count and mistakenly believed that

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   1   the claims it was paying were not upcoded. The United States’ erroneous belief

   2   was material to making the payments at issue; had the United States known the

   3   true facts, the United States would not have approved the payment of such funds.

   4          137. By reason of its mistake of fact, the United States is entitled to

   5   restitution from defendants in the amount of the payment the United States made
   6   to which defendants are not entitled.

   7
   8                             SECOND CAUSE OF ACTION

   9                             AGAINST ALL DEFENDANTS
  10                               (Negligent Misrepresentation)
  11
  12          138. Plaintiff United States repeats and realleges each allegation in     1

  13   through 133, as if fully set forth herein.

  14          139. As noted, each UB-92 that contained each miscoded claim listed on
  15   Attachment A hereto contained at least one material false statement: that the ICD-
  16   9-CM codes set forth on the UB-92 in fact represented the correct principal and

  17   secondary diagnoses and procedures performed.

  18          140. As noted, each cost report submitted to the government or its FI by

  19   AMI'S hospitals contained the following false statements:

  20         (1) that the cost report was "a true, correct, and complete statement prepared

  21   from the books and records of the provider" and

  22         (2) that "the services identified in this cost report were provided in

  23   compliance with" "the laws and regulations regarding the provision of health care

  24   services."

  25          141. As to each of the foregoing false representations, each defendant that

  26   made the false representation and each defendant that caused that false

  27   representation to be submitted to the respective FI or the United States did so both

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   1   on behalf of itself and as an agent of AMI, intending that the United States rely on
   2   the supposed accuracy of the representation.
   3          142. With respect to the false representations in the UB-92s, the intended
   4   reliance consisted of the United States' paying Medicare reimbursements based
   5   upon the UB-92s. With respect to the false representations in the cost reports, the
   6   intended reliance consisted of the United States' settling the cost reports at an

   7   inflated amount and paying inflated tentative settlements based on the cost reports.
   8          143. Upon information and belief, as to each of the foregoing false
   9   representations, each defendant that made the false representation and each
  10   defendant that caused that false representation to be submitted to the respective FI

  11   or the United States did so with no reasonable ground for believing that the

  12   representation was true.
  13          144. As to each such false representation, the United States was ignorant
  14   of its falsity, believed it to be true, and justifiably relied upon it. With respect to

  15   the false representations in the UB-92s, the United States' reliance consisted of

  16   paying Medicare reimbursements based upon the UB-92s. With respect to the

  17   false representations in the cost reports, the United States' reliance consisted of the

  18   United States' settling the cost reports at an inflated amount and paying inflated

  19   tentative settlements based on the cost reports. Had the United States known the

  20   truth, the United States would not have so acted and refrained from acting to its

  21   detriment.

  22          145. Asa proximate result of the aforesaid false statements and the facts

  23   herein alleged, the United States has sustained damages in an amount not yet

  24   ascertained with sufficient specificity to state the dollar amount thereof
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   1                                PRAYER FOR RELIEF
   2
   3   WHEREFORE, the United States prays that judgment be entered in favor of the

   4   United States as follows:

   5         1.     On the First Cause of Action, for Payment by Mistake, for Payment
   6   by Mistake, for restitution to the United States in the amount of the payment the

   7   United States made pursuant to the miscoded claims, plus interest, costs, and
   8   expenses, and such further relief as may be just and proper.

   9         2.     On the Second Cause of Action, for Negligent Misrepresentation, for

  10   the United States’ compensatory damages, plus interest, costs, and expenses, and

  11   such further relief as may be just and proper.

  12
       Date: February 6, 2004                           Respectfully submitted,
  13
                                                        PETER D. KEISLER
  14                                                    Assistant Attorney General
                                                        DEBRA W. YANG
  15                                                    United States Attorney
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  17                                                     ►ONNA C. MAIZEL (AT
                                                        Assistant United States Anomey
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  20                                                    MICHAEL F. HERTZ
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  27                                                    Attorneys for the United States of
                                                        America
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   1   DEMAND FOR JURY TRIAL

   2
             The United States hereby demands a trial by jury.
   3
   4
       Date: February 6, 2004                       Respectfully submitted,
   5
                                                     PETER D. KEISLER
   6                                                 Assistant Attorney General
                                                     DEBRA W. YANG
   7                                                ^United States Attorney

   8
   9                                                'DONNA C. MAIZEL" (J
                                                     Assistant United States Attorney
  10
  11
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   1                                      Attachments

   2
   3   Attachment A.            .....................................................Identification of False
                                 Claims Discovered to Date and of Defendant Hospitals
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Attachment “A”: For each of AMFs hospitals, every miscoded UB-92 claim discovered by the
 pvemment to date, identified by a unique number and the patient’s discharge date. ’, ^
                                                        AMI Hospitals
 Hospital Name                    Liability         DRG 079               DRG 415             DRG 416            DRG 475
 Provider #                       from              claims                claims              claims -           claims
 Location                         09/06/1992
                                  until             (With discharge       (With               (With              (With
 Ownership Data (Chain            03/01/1995        date and              discharge           discharge          discharge
 of Ownership from                unless            correct DRG           date and            date and           date and
 Tenet Healthcare Corp.)          otherwise         noted)                correct DRG         correct DRG        correct DRG
 A                                noted.                                  noted)              noted) /           noted)

 AMISUB (Culver Union                               1501]
 Hospital), Inc., dba                               10/03/1992 (89)
 AMI Culver Union                                   [502]
 Hospital (aka Culyer                               10/08/1992 (89)
 Union Hospital) ^                                  [503]
                                                    10/21/1992 (89)
 Prov.# 150022                                      [504]
 Crawfordsville, IN                                 10/24/1992 (89)
                                                    [505]
 Tenet HealthSystem                                 11/02/1992 (89)
 Holdings, Inc.; Tenet                              [506]
 HealthSystem Medical,                              11/19/1992 (89)
 Inc.                                               [507]
                                                    12/01/1992 (89)
                                                    ]508]
                                                    12/09/1992 (87)
                                                    [509]
                                                    01/08/1993 (89)
                                                    [510]
                                                    01/19/1993(89) '
                                                    [511]
                                                    01/20/1993 (89)

                                                    (Continued next
                                                    page)




         ’ Unless specifically noted, all claims were determined to be false in an investigation conducted by the Department of
Health and Human Services (HHS), Office of Inspector General, the Commercial Litigation Branch of the Department of Justice
in Washington, D.C., and the Office of the United States Attorney in and for the Central District of California (Group 1 claims).

         ^ All listed hospitals were owned indirectly by AMI during the period of liability in this complaint (09/06/1992 to
03/01/1995).

         ^ Claims for AMI Culver Union Hospital only were determined to be false in an investigation by HHS and the Office
of the United States Attorney in and for the Southern District of Indiana (Group 2 claims).

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                                                                       31)
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                                               AMI Hospitals

 Hospital Name              Liability     DRG 079                  DRG 415        DRG 416       DRG 475
 Provider #                 from          claims                   claims         claims        claims
 Location                   09/06/1992
                            until         (With discharge          (With          (With         (With
 Ownership Data (Chain      03/01/1995    date and                 discharge      discharge     discharge
 of Ownership from          unless        correct DRG              date and       date anil     date and
 Tenet Healthcare Corp.)    otherwise     noted)                   correct DRG    correct DRG   correct DRG
                            noted.                                 noted)______   noted);.      noted)

 AMISUB (Culver Union                     (Continued from
                                          previous page)
 Mospital), Inc., dba                     1512)01/25/1993 (89)
 AMI Culver Union                         |513| 02/02/1993 (89)
 Hospital (aka Culver                     |514| 02/16/1993 (89)
                                          |515) 02/24/1993 (89)
 Union Hospital)                          1516) 02/27/1993 (89)
                                          1517) 03/01/1993(89)
 (Continued from previous                 1518) 03/06/1993 (89)
                                          |519| 03/07/1993 (89)
 page)                                    15201 03/09/1993 (89)
                                          15211 03/09/1993 (89)
                                          1522103/11/1993 (89)
                                          1523103/17/1993 (89)
                                          1524| 03/22/1993 (89)
                                          15251 03/26/1993 (89)
                                          15261 04/05/1993 (89)
                                          1527) 04/23/1993 (89)
                                          1528] 04/30/1993 (89)
                                          15291 05/10/1993 (89)
                                          ]530] 06/07/1993 (89)
                                          ]531106/17/1993 (89)
                                          ]532] 06/30/1993 (89)
                                          15331 07/01/1993 (89)
                                          ]534] 07/02/1993 (89)
                                          ]535] 07/04/1993 (89)
                                          15361 07/18/1993 (89)
                                          15371 07/24/1993 (127)
                                          ]538| 07/30/1993 (89)
                                          1539] 08/24/1993 (89)
                                          ]540| 09/22/1993 (89)
                                          154l| 10/11/1993(89)
                                          1542] 11/25/1993 (89)
                                          ]543] 12/09/1993 (89)
                                          ]544| 12/17/1993 (89)
                                          1545] 01/23/1994 (89)
                                          ]546| 01/28/1994 (89)
                                          ]547| 04/01/1994 (89)
                                          ]548| 04/02/1994 (89)
                                          (549104/12/1994(89)
                                          l550| 04/19/1994 (89)
                                          1551106/02/1994 (89)
                                          1552] 07/05/1994 (89)
                                          1553] 07/06/1994 (89)
                                          1554] 07/15/1994 (89)
                                          1555] 08/15/1994(89)
                                          1556] 09/13/1994 (89)
                                          15571 01/09/1995 (89)
                                          1558] 01/24/1995 (89)
                                          1559] 02/02/1995 (89)
                                          1560] 02/27/1995 (89)




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                                              AMI Hospitals

 Hospital Name              Liability     DRG 079             DRG 415       DRG 416       DRG 475
 Provider #                 from          claims              claims        claims        claims
 Location                   09/06/1992
                            until         (With discharge     (With         (With         (With
 Ownership Data (Chain      03/01/1995    date and            discharge     discharge     discharge
 of Ownership from          unless        correct DRG         date and      date and      date and
 Tenet Healthcare Corp.)    otherwise     noted)              correct DRG   correct DRG   correct DRG
                            noted.                            noted)        noted)        noted)
 AMI/HTI Tarzana Encino                   [561]
 Joint Venture dba                        03/29/1994 (89)
 AMI Tarzana Regional                     [562]
 Medical Center (aka                      05/16/1994 (89)
 Tarzana Regional)                        [563]
                                          12/08/1994 (89)
 Prov.# 050601                            [564]
 Tarzana, CA                              12/11/1994(89)
                                          [565]
 Tenet HealthSystem                       01/17/1995 (89)
 Holdings, Inc.; Tenet                    [566]
 HealthSystem Medical,                    02/14/1995 (90)
*Ihc.

 Brookwood Health                                                           [567],
 Services, Inc., dba                                                        01/30/1995
 Brookwood Medical                                                          (452)
 Center

 Prov. #010139
 Birmingham, AL

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.

 Tenet Healthcare, Ltd.,                  [568]
 dba                                      05/12/1993 (89)
 Brownsville Medical                      [569]
 Center                                   05/16/1993 (89)
                                          [570]
 Prov. # 450028                           06/04/1993 (89),
 Brownsville, TX                          i571]
                                          02/08/1994 (89)
Tenet HealthSystem                        [572]
■Holdings, Inc.; Tenet                    04/12/1994 (89)
HealthSystem Medical,                     [573]
 Inc.; American-Medical                   01/12/1995 (89)
(Central), Inc.; Lifemark
 Hospitals, Inc.



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                                            AMI Hospitals

 Hospital Name             Liability     DRG 079            DRG 415       DRG416        DRG 475
 Provider #                from          claims             claims        claims        claims
 Eocation                  09/06/1992
                           until         (With discharge    (With         (With         (With
 Ownership Data (Chain     03/01/1995    date and           discharge     discharge     discharge
 of Ownership from         unless        correct DRG        date and      date and      date and
 Tenet Healthcare Corp.)   otherwise     noted)             correct DRG   correct DRG   correct DRG
                           noted.                           noted)        noted).       noted)

 AMI/HTI Tarzana Encino                  [574]              [575]
 Joint Venture dba                       09/15/1993 (89)    10/04/1993
 Encino-Tarzana                                             (263)
 Regional Medical
 Center

 Prov.# 050158
 Encino, CA

 Eenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.

 Frye Regional Medical                   [576]
 Center, Inc., dba                       02/27/1993 (89)
 F'rye Regional Medical                  1577]
 Center                                  06/02/1993 (89)
                                         1578]
 Prov. # 340116                          11/28/1993 (89)
.Hickory, NC                             [579]
                                         11/29/1993 (89)
 Tenet HealthSystem                      [580]
^Holdings, Inc.; Tenet                   12/03/1993 (89)
 HealthSystem Medical,                   [581]
 Inc.                                    01/31/1994(89)
                                         [582]
                                         02/08/1994 (89)
                                         [583]
                                         02/17/1994 (89)
                                         [584]
                                         06/26/1994 (89)
                                         ]585]
                                         09/01/1994 (89)
                                         ]586]
                                         01/15/1995 (89)




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                                              AMI Hospitals

^Hospital Name               Liability     DRG 079            DRG 415       DRG 416       DRG 475
Provider #                   from          claims             claims        claims        claims
Location                     09/06/1992
                             until         (With discharge    (With         (With         (With
 Ownership Data (Chain       03/01/1995    date and           discharge     discharge     discharge
 of Ownership from           unless        correct DRG        date and      date and      date and
 Tenet Healthcare Corp.)     otherwise     noted)             correct DRG   correct DRG   correct DRG
                             noted.                           noted)        noted)        noted)

 Medical Center of Garden                  1587]              [590]                       [591]
 Grove, Inc., dba                          11/25/1992 (89)    10/04/1994                  05/20/1994
 Garden Grove Hospital                     [588]              (168)                       (449)
 and Medical Center                        01/25/1993 (89)
                                           [589]
»Prov. # 050230^                           09/20/1993 (89)
 Garden Grove, CA

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.

iLifemark Hospitals of                     [592]
 Louisiana, Inc., dba                      09/22/1994 (89)
 Kenner Regional
 Medical Center

^Prov. # 190206
 Renner, LA

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.; AmericantMedical
 (Central), Inc.; Lifemark
 Hospitals, Inc.,

 Memorial Hospital of                      [593]
 Tampa, L.P., dba                          04/14/1993 (89)
'Memorial Hospital of
 Tampa                                     [594]
                                           03/16/1994 (89)
 Prov. # 100206
 Tampa, FL

  Tenet HealthSystem
  Holdings, Inc.;.
 -Brookwood Health
  Services, Inc.;
  Brookwood Medical ,
  Center of Tampa, Inc.


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                                               AMI Hospitals

 Hospital Name               Liability     DRG 079             DRG 415        DRG 416       DRG 475
 Provider #                  from          claims              claims         claims        claims
 Location                    09/06/1992
                             until         (With discharge     (With          (With         (With
 Ownership Data (Chain       03/01/1995    date and            discharge      discharge     discharge
 of Ownership from           unless        correct DRG         date and       date and      date and
 Tenet Healthcare Corp.)     otherwise     noted)              correct DRG    correct DRG   correct DRG
                             noted.                            noted)______   noted)        noted)

 Tenet Beaumont                            [5951
 Healthsystem, Inc., dba                   09/08/1993 (89)
 Mid-Jefferson Hospital

 Prov. #450514
 Nederland, TX

 Tenet HealthSystem
 Hospitals, Inc.

 Tenet Healthcare, Ltd.,                   [596)
 dba                                       12/04/1993 (89)
 Nacogdoches Medical                       [597]
 Center Hospital                           02/09/1994 (89)

 Prov..# 450656
 Nacogdoches, TX

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSysteni Medical,
 Inc.; American Medical
 (Central), Inc.; Lifemark
 Hospitals, Inc.

 National Park Medical                     [598]               [599]
 Center, Inc., dba                         111/30/1993 (89)    10/28/1994
 National Park Medical                                         (213)
 Center (aka AMI
 National Park)

 Prov. # 040078
 Hot Springs, AR

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 Healthsystem Medical,
 Inc.




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                                                 AMI Hospitals

 Hospital Name             Liability         DRG079               DRG 415       DRG 416       DRG 475
 Provider #                from              claims               claims        claims        claims
 Location                  09/06/1992
                           until             (With discharge      (With         (With         (With
 Ownership Data (Chain     03/01/1995        date and             discharge     discharge     discharge
 of Ownership from         unless            correct DRG          date and      date and      date and
 Tenet Healthcare Corp.)   otherwise         noted)               correct DRG   correct DRG   correct DRG
                           noted.                                 noted)        noted)        noted)
 North Fulton Medical                        [600]                [601]
 Center, Inc., dba                           11/09/1993           06/29/1994
 North FultomRegional                        (122)                (416)
 Hospital

■Prov. #110198
Roswell, GA

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.

 AMISUB (North Ridge                          [602]               [606]
 Hospital), Inc., dba                         10/13/1993 (89)     12/11/1993
 North Ridge Medical                          [603]               (440)
 Center                                       01/11/1994 (89)
                                              1604]
 Prov.# 100237                                03/15/1994 (89)
 Fort Lauderdale, FL                          [605]
                                             -08/11/1994 (88)
 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.

 Palm Beach Gardens                          [607]                [608]
 Community Hospital,                         07/06/1994 (89)      01/06/1993
 Inc., dba                                                        (418)
 Palm Beach Gardens                                               [609]
 Medical Center                                                   10/25/1993
                                                                  (418)
 Prov. # 100176
 Palm Beach Gardens, FL                  '

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.




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                                                  AMI Hospitals

 Hospital Name               Liability     DRG 079                DRG 415       DRG 416       DRG 475
 Provider #                  from          claims                 claims        claims        claims
 Location                    09/06/1992
                             until         (With discharge        (With         (With         (With
 ©wnership Data (Chain       03/01/1995    date and               discharge     discharge     discharge
 of Ownership from           unless        correct DRG            date and      date and      date and
 Tenet Healthcare Gorp.)     otherwise     noted)                 correct DRG   correct DRG   correct DRG
                             noted.           ■
                                                                  noted)        noted)        noted)
 Lifemark Hospitals of                     [610]
 Florida, Inc., dba                        03/19/1993 (89)
 Palmetto General
 Hospital (aka Lifemark at
 Palmetto)

 Prov. #100187
 Hialeah, FL

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.; American Medical
 (Central), Inc.; Lifemark
 Hospitals, Inc.

 Tenet Healthcare, Ltd.,                   1611]
 dba                                       08/11/1994 (89)
 Park Place Medical
 Center

 Prov. #450518
 Port Arthur, TX

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Ihc.; American Medical
 (Central), Inc.; Lifemark
 Hospitals, Inc.




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                                             AMI Hospitals

 Hospital Name              Liability     DRG 079             DRG 415       DIfG416       DRG 475
 Provider #                 from          claims              claims        claims        claims
 Location                   09/06/1992
                            until         (With discharge     (With         (With         (With
 Ownership Data (Chain      03/01/1995    date and            discharge     discharge     discharge
 of Ownership from          unless        correct DRG         date and      date and      date and
 Tenet Healthcare Corp.)    otherwise     noted)              correct DRG   correct DRG   correct DRG
                            noted.                            noted)        noted)        noted)
 Tenet Healthcare, Ltd.,                  [6121               [613]
 dba                                      12/18/1993 (89)     11/24/1992
 Park Plaza Hospital                                          (304)

 Pi-ov. # 450659
 Houston, TX

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.; American Medical
 (Central), Inc.;
 Lifemark Hospitals, Inc.

 AMISUB of South                          [614]               [618]
 Carolina, Inc., dba                      07/19/1993 (89)     10/16/1993
 Piedmont Medical                         [615]               (120)
 Center                                   01728/1994 (89)
                                          [616]
 Prov. # 420002                           08/18/1994 (89)
 Rock Hill, SC                            [617]
                                          11/23/1994 (89)
 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
Jric.
 AMISUB (SFH), Inc.,                      [619]               [621]         [622]
 dba                                      02/03/1993 (96)     11/25/1992    02/15/1993
 sl. Francis Hospital                     ]620]               (418)         (89)
                                          05/23/1994
.Brov. #440183                            (398)
'Memphis, TN

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.




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                                                AMI Hospitals

 Hospital Name               Liability     DRG 079              DRG 415       DRG 416       DRG 475
 Provider #                  from          claims               claims        claims        claims
 Location                    09/06/1992
                             until         (With discharge      (With         (With-        (With
 Ownership Data (Chain       03/01/1995    date and             discharge     discharge     discharge
;of Ownershipjfrom           unless        correct DRG          date and      date and      date and
 Tenet Healthcare Corp.)     otherwise     noted)               correct DRG   correct DRG   correct DRG
                             noted.                             noted)        noted)        noted)
 St. Mary’s Regional                       [623]
 Medical Center, Inc., dba                 12/01/1992 (89)
 St. Mary’s Regional                       [624]
 Medical Center                            05/05/1994 (89)
                                           [625]
 Prov. # 040041                            06/06/1994 (89)
 Russellville, AR                          [626]
                                           08/15/1994 (87)
Tenet HealthSystem
Holdings, Inc.; Tenet
HealthSystem Medical,
Tnc.

 Tenet HealthSystem                        [627]
 Medical, Inc., dba                        02/26/1994(89)
 San Dimas Community
 Hospital

 Prov. # 050588
 San Dimas, CA

 Tenet HealthSystem
.•Holdings, Inc.;

 Sierra Vista Hospital,                                         [628]
 Inc., dba                                  ■                   08/18/1994
 Sierra Vista Regional                                          (195)
 Medical Center

 Prov. # 050506
 San Luis Obispo, CA

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem-Medical,
 Inc.




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                                              AMI Hospitals

 Hospital Name              Liability     DRG 079             DRG 415       DRG 416       DRG 475
 Provider #                 from          claims              claims        claims        claims
 Location                   09/06/1992
                            until         (M'ith discharge    (With         (With         (With
 Ownership Data (Chain      03/01/1995    date and            discharge     discharge     discharge
 of Ownership from          unless        correct DRG         date and      date and      date and
 Tenet Healthcare Corp.)    otherwise     noted)              correct DRG   correct DRG   correct DRG
                            noted.                            noted)        noted)        noted)

 Tenet HealthSystem                       [P9|
 Spalding, Inc., dba                      02/04/1994 (89)
 Spalding Regional
 Hospital

 Prov.# 110031
 Griffin, GA

 Tenet HealthSystem
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.

 Three Rivers Healthcare,                 [630]
 Ihc., dba                                12/19/1993 (89)
 Three Rivers                             \62l]
 Healthcare North                         12/29/1993 (80)
 Campus (aka Lucy Lee                     [632]
 Hospital)                                03/31/1994 (89)
                                          1633]
 Prov. #260120                            05/10/1994 (89)
 Poplar Bluff, MO                         ]634]
 Tenet HealthSystem                       10/18/1994 (87) .
 Holdings, Inc.; Tenet
 HealthSystem Medical,
 Inc.




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 1                PROOF OF SERVICE BY FACSIMILE TRANSMISSION AND
 2                                FEDERAL EXPRESS DELIVERY
 3          I am over the age of 18 and not a party to the within action.

 4    I am employed by the Office of United States Attorney, Central

 5    District of California.        My business address is 300 North Los

 6 Angeles Street, Suite 7516, Los Angeles, California 90012.
 7          On February 6, 2004, I served COMPLAINT (AMI) on each person

 8    or entity named below by faxing and enclosing a copy in an

 9    envelope addressed as shown below and placing the envelope for

10    collection and sending by Federal Express on the date and at the

11    place shown below following our ordinary office practices.               I am

12    readily familiar with the practice of this office for collection

13    and processing correspondence for mailing.

14          Date of mailing: February 6, 2004.          Place of mailing: Los

15    Angeles, California.

16          Person(s) and/or Entity(s) to Whom mailed:

17                 SEE ATTACHMENT

18          I declare under penalty of perjury under the laws of the

19    United States of America that the foregoing is true and correct.

20         I declare that I am employed in the office of a member of

21 the bar of this court at whose direction the service was made.
22         Executed on: February 6, 2004 at Los Angeles, California.

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                                                ZENAIDA A. ROSACIA
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28
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 1                                   Attachment

 2
     Nick T. Hanna
 3 Alan Gordee
     GIBSON, DUNN & CRUTCHER LLP
 4 Jamboree Center
     4 Park Plaza, Suite 1400
 5 Irvine, CA 92614-8557
     Fax No.   (949) 451-4220
 6
 7 David Schindler
     Russell Hayman
 8 LATHAM & WATKINS LLP
   633 West Fifth Street
 9 Suite 4000
   Los Angeles, CA 90071-2007
10 Fax No. (213) 891-8763
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